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                                                                                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                                                            Central District of California
                                                                   6   Counsel to Bradley D. Sharp, Chapter 11 Trustee                      BY francis DEPUTY CLERK


                                                                   7                               UNITED STATES BANKRUPTCY COURT

                                                                   8                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                   9                                        LOS ANGELES DIVISION

                                                                  10    In re                                           Case No.: 2:23-bk-10990-SK
                                                                  11
                                                                        LESLIE KLEIN,                                   Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                        Debtor.                         ORDER GRANTING MOTION OF
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                    CHAPTER 11 TRUSTEE AUTHORIZING
                                           ATTORNEYS AT LAW




                                                                                                                        THE EXAMINATION OF VIRTUS
                                                                  14                                                    INVESTMENT PARTNERS, INC.
                                                                                                                        PURSUANT TO FED. R. BANKR. P. 2004
                                                                  15
                                                                                                                        [No Hearing Required]
                                                                  16
                                                                  17
                                                                                On September 20, 2023, Bradley D. Sharp, the duly appointed chapter 11 trustee (the
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                                                                       “Trustee), filed his Notice of Motion and Motion of Chapter 11 Trustee, for Order Authorizing the
                                                                  19
                                                                       Examination of Virtus Investment Partners, Inc. Pursuant to Fed. R. Bankr. P. 2004; Memorandum
                                                                  20
                                                                       of Points and Authorities; Declarations of Bradley D. Sharp, Nicholas Troszak and Jeffrey P. Nolan
                                                                  21
                                                                       in Support Thereof (the “Motion”) [Docket No. 364]. The Court, having considered the Motion, the
                                                                  22
                                                                       accompanying Memorandum of Points and Authorities, the Declarations in support of the Motion,
                                                                  23
                                                                       the exhibit thereto, and based on its review and consideration, the Court finds that (i) notice of the
                                                                  24
                                                                       Motion was adequate and appropriate, and no further or other notice need be given; (ii) the authority
                                                                  25
                                                                       requested by the Trustee to issue a subpoena substantially in the form identified in the Motion is
                                                                  26
                                                                       appropriate; and (iii) good cause exists to grant the Motion.
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                                                                   Case 2:23-bk-10990-SK               Doc 413 Filed 10/11/23 Entered 10/11/23 10:09:48                 Desc
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                                                                   1              IT IS HEREBY ORDERED THAT:

                                                                   2              1.      The Motion is GRANTED in its entirety;

                                                                   3              2.      The Trustee is authorized, pursuant to sections 105(a) and 1106(a)(3) of title 11 of the

                                                                   4   United States Code (the “Bankruptcy Code”), Rules 2004 and 9016 of the Federal Rules of

                                                                   5   Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rule 2004-1, to issue and

                                                                   6   serve a subpoena substantially in the form attached to the Motion as Exhibit I, to compel the

                                                                   7   attendance of the Proposed Examinee, Virtus Investment Partners, Inc. and /or Virtus Mutual Funds

                                                                   8   (“Virtus”), for production and testimony on the dates stated therein or such other date as is mutually

                                                                   9   agreed between Virtus, and the Trustee;1

                                                                  10              3.      The Trustee shall serve the Rule 2004 Subpoena and a copy of this Order on (i)

                                                                  11   Virtus, and (ii) the United States Trustee for the Central District of California and shall file with the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Court an affidavit or declaration of service of the Rule 2004 Subpoena;
                                        LOS ANGELES, CALIFORNIA




                                                                  13              4.      In the event of any discovery dispute in relation hereto, counsel and Virtus, shall first
                                           ATTORNEYS AT LAW




                                                                  14   meet and confer in an effort to resolve the dispute in accordance with Local Bankruptcy Rule 7026;

                                                                  15              5.      This order is without prejudice to the Debtor’s right to file further motions seeking

                                                                  16   additional documents or testimony pursuant to Bankruptcy Rule 2004(a) or any other applicable

                                                                  17   Bankruptcy Rules; and

                                                                  18              6.      This Court shall retain jurisdiction to resolve any dispute arising from or related to

                                                                  19   this order, including any discovery disputes that may arise between or among the parties, and to

                                                                  20   interpret, implement and otherwise enforce the provisions of this order.

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                                                                           Date: October 11, 2023
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                                                                           Capitalized terms used herein shall have the same meanings ascribed to them in the Motion.
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